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               EXHIBIT J
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

       DAVID J. MATTILA, ET AL.,

               Plaintiffs,
                                                  Case No. 19-cv-10446
                   v.
                                              UNITED STATES DISTRICT COURT
 CENTERS FOR MEDICARE & MEDICAID,
                                                JUDGE GERSHWIN A. DRAIN
              ET AL.,

           Defendants.
 ______________________________/
                        AMENDED JUDGMENT

      In accordance with the Opinion and Order entered on February 3, 2020, IT IS

ORDERED AND ADJUDGED that judgment is entered in favor of Defendant

Centers for Medicare & Medicaid Services and against Plaintiffs.

      IT IS FURTHER ORDERED that this case is DISMISSED WITHOUT

PREJUDICE as to Defendant Centers Medicare & Medicaid Services.

      IT IS FURTHER ORDERED that, in accordance with the Order entered on

today’s date declining supplemental jurisdiction over Plaintiffs’ remaining claims,

that this case is also DISMISSED WITHOUT PREJUDICE as to remaining

Defendants Select Specialty Hospital – Ann Arbor and Blue Cross Blue Shield of

Michigan.

      Dated at Detroit, Michigan, 3rd day of March, 2020.




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                                                  DAVID J. WEAVER
                                                  CLERK OF THE COURT

                                                  BY: /s/ Teresa McGovern
                                                      DEPUTY CLERK

APPROVED:
/s/ Gershwin A. Drain
HON. GERSHWIN A. DRAIN
UNITED STATES DISTRICT JUDGE


                          CERTIFICATE OF SERVICE
           Copies of this Order were served upon attorneys of record on
               March 11, 2020, by electronic and/or ordinary mail.
                               /s/ Teresa McGovern
                                   Case Manager




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